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                             **NOT FOR PRINTED PUBLICATION**



                          IN THE UNITED STATES DISTRICT COURT

                           FOR THE EASTERN DISTRICT OF TEXAS

                                         LUFKIN DIVISION

RODNEY FLOWERS                                     §

VS.                                                §           CIVIL ACTION NO. 9:19cv139

ALAM SHANAWAR, ET AL.                              §

                           ORDER ACCEPTING THE MAGISTRATE
                         JUDGE’S REPORT AND RECOMMENDATION

         Rodney Flowers, proceeding pro se, filed the above-styled civil rights lawsuit against Alam

Shanawar, John Wang and Sharon Parker. The court referred this matter to the Honorable Zack

Hawthorn, United States Magistrate Judge, for consideration pursuant to applicable orders of this

court.

         The defendants have filed a motion to dismiss. The Magistrate Judge has submitted a Report

and Recommendation of United States Magistrate Judge recommending that the motion be granted.

         The court has received and considered the Report and Recommendation of United States

Magistrate Judge, along with the record and pleadings.            No objections to the Report and

Recommendation were filed by the parties.
                                               ORDER

         The findings of fact and conclusions of law of the Magistrate Judge are correct and the report

of the Magistrate Judge is ACCEPTED. The motion to dismiss (doc. no. 16) is GRANTED. A

final judgment shall be entered dismissing this lawsuit.

                  So ORDERED and SIGNED, Mar 28, 2021.


                                                                      ____________________
                                                                      Ron Clark
                                                                      Senior Judge
